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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS

       United States of America             )
              Plaintiff                     )                      Case No: 21 CR 551
                  v.                        )
                                            )                      Judge: Maria Valdez
                                            )
            Marcos Gleffe                   )
             Defendant                      )


                                           ORDER


Initial appearance and arraignment hearing held on 9/2/21 as to Defendant Marcos Gleffe.
Pursuant to the CARES Act, all parties agreed to appear telephonically. Aaron Bond appeared
on behalf of the Government. Jack Corfman was appointed to represent the defendant. The
Government advised the defendant of the charges pending against him and the maximum
penalties. Defendant appears in response to the arrest on 9/2/21. The defendant was advised of
his rights. The Government must provide the defendant with the date and time to appear in the
charging district. Pursuant to Rule 5(f) of the Federal Rules of Criminal Procedure, the court,
with both the prosecutor and defense counsel present, confirms the government's obligation to
disclose favorable evidence to the accused under Brady v. Maryland, 373 U.S. 83 (1963), and its
progeny, and orders it to do so. Favorable evidence under Brady need have only some weight
and includes both exculpatory and impeaching evidence. Failure to produce such evidence in a
timely manner may result in sanctions, including, but not limited to, adverse jury instructions,
dismissal of charges, and contempt proceedings. The Government and the defendant agreed to
certain conditions of release. The defendant is released on a $4,500.00 unsecured bond. Enter
Order Setting Conditions Of Release. Defendant waives an identity hearing. Defendant is to be
released after processing. Case is hereby terminated.



(T:00:15)




                                                           __________________________
Date: September 2, 2021                                    Magistrate Judge Maria Valdez
